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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MIDWEST ATHLETICS AND SPORTS
 ALLIANCE LLC,
                                                      Civil Action No.:
                 Plaintiff,
                                                      2:19-cv-00514-JDW
          v.

 RICOH USA, INC.,

                 Defendant.


         PLAINTIFF MIDWEST ATHLETICS AND SPORTS ALLIANCE LLC’S
                  MOTION FOR LEAVE TO SEAL DOCUMENTS

        Pursuant to Local Civil Rule 5.1.5 and the Stipulated Protective Order in this case (D.I.

91), Plaintiff Midwest Athletics and Sports Alliance LLC (“MASA”) hereby submits this motion

seeking an order sealing redacted portions of MASA’s and Ricoh’s Joint Discovery Dispute Letter

of May 22, 2020 (“the Letter”) (D.I. 166) and certain corresponding exhibits (Exhibits A, D, and

E) (D.I. 166-1, 166-4, and 166-5), which contain highly-confidential business information and

information that is subject to confidentiality obligations, such as references to and identification

of MASA’s confidential funder and terms of MASA’s confidential Patent Purchase Agreement

with non-party Kodak Company. In an effort to narrow the amount of information precluded from

public disclosure, MASA requests limited redactions of the highly-confidential and sensitive

business and financial information in the Letter, and requests that Exhibits A, D, and E to the Letter

be sealed in their entirety.

        MASA submits its proposed redactions as Exhibits 1, 2, 3, and 4 to the Declaration of

Cristina Martinez filed in support of this Motion.




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       In support of the Motion, MASA relies on the Memorandum of Law and Declaration of

Cristina Martinez and exhibits thereto, submitted herewith.

                                                Respectfully submitted,


  Dated: July 30, 2020                              By:     /s/ Cristina Martinez
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                                CERTIFICATE OF SERVICE

       I, Cristina Martinez, hereby certify that on July 30, 2020, I caused the foregoing Motion

for Leave to Seal Documents to be served via CM/ECF, with copies of the materials sought to be

sealed served via e-mail, on the following counsel:

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                                                       By: /s/ Cristina Martinez
                                                           Cristina Martinez
